               Case 23-42793-elm7                        Doc 1            Filed 09/18/23 Entered 09/18/23 16:27:40                                  Desc Main
                                                                          Document Page 1 of 80
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Northern District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Brandon                                                         Brandi
       Write the name that is on your         First name                                                      First name
       government-issued picture               Shane                                                           L
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Jones                                                           Jones
                                              Last name                                                       Last name
       Bring your picture identification
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any             Jones Trucking
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 2           2     9   0                              xxx - xx - 6           6    7     5
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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 Debtor 1            Brandon             Shane                       Jones
 Debtor 2            Brandi              L                           Jones                                          Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                   -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          1800 Blue Danube Street
                                          Number            Street                                        Number           Street

                                          Apt 1099

                                          Arlington, TX 76015
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Tarrant
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Brandon            Shane                   Jones
 Debtor 2           Brandi             L                       Jones                                          Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                                 ✔ No. Go to line 12.
                                                 ❑
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Brandon                Shane                   Jones
 Debtor 2           Brandi                 L                       Jones                                          Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ❑ No. Go to Part 4.
      any full- or part-time
      business?
                                           ✔ Yes. Name and location of business
                                           ❑
      A sole proprietorship is a               Jones Trucking
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a                   PO Box 65
                                               Number         Street
      corporation, partnership, or LLC.

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this              Roswell                                              NM              88202
                                               City                                                State            ZIP Code
      petition.

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ✔ None of the above
                                               ❑

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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 Debtor 1           Brandon             Shane                   Jones
 Debtor 2           Brandi              L                       Jones                                        Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State      ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 5
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 Debtor 1           Brandon             Shane                      Jones
 Debtor 2           Brandi              L                          Jones                                               Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔ I received a briefing from an approved credit counseling
                                        ❑                                                                     ✔ I received a briefing from an approved credit counseling
                                                                                                              ❑
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling            ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an       ❑ I certify that I asked for credit counseling services from an
      again.
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental                     ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                               realizing or making rational decisions                                realizing or making rational decisions
                                                               about finances.                                                       about finances.
                                             ❑ Disability.      My physical disability causes me to be             ❑ Disability.      My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑ Active duty. I am currently on active military duty in              ❑ Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




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 Debtor 1           Brandon               Shane                    Jones
 Debtor 2           Brandi                L                        Jones                                            Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ✔ $0-$50,000
                                              ❑                                    ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ✔ $100,001-$500,000
                                              ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Brandon Shane Jones                                       ✘ /s/ Brandi L Jones
                                       Brandon Shane Jones, Debtor 1                                   Brandi L Jones, Debtor 2
                                       Executed on 09/18/2023                                          Executed on 09/18/2023
                                                        MM/ DD/ YYYY                                                   MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Brandon                 Shane                   Jones
 Debtor 2           Brandi                  L                       Jones                                          Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Clayton L. Everett                                               Date 09/18/2023
                                                    Signature of Attorney for Debtor                                       MM / DD / YYYY




                                                    Clayton L. Everett
                                                    Printed name

                                                    Norred Law, PLLC
                                                    Firm name

                                                    515 E. Border
                                                    Number       Street

                                                    Norred Law, PLLC

                                                    Arlington                                                      TX      76010
                                                    City                                                           State   ZIP Code



                                                    Contact phone (817) 704-3984                     Email address clayton@norredlaw.com


                                                    24065212                                                       TX
                                                    Bar number                                                     State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Brandon                      Shane                        Jones
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Brandi                       L                            Jones
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Northern                   District of            Texas

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      1800 Blue Danube St. Apt 1099                    ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ✔ Duplex or multi-unit building
                                                                  ❑                                                                     Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                Arlington, TX 76015                               ❑ Investment property                                                                  unknown                   unknown

                City          State              ZIP Code         ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Tarrant                                                                                                                a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ✔ Debtor 1 only
                                                                  ❑                                                                     Leasehold
                                                                  ❑ Debtor 2 only                                                      ✔ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑
                                                                                                                                            (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Jones, Brandon Shane; Jones, Brandi L                                                      Case number (if known)



       3.1   Make:                    Honda         Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                    ✔ Debtor 1 only
                                                    ❑                                                      the amount of any secured claims on Schedule D:
                                      Civic
             Model:
                                                    ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.

             Year:                    2007          ❑ Debtor 1 and Debtor 2 only                          Current value of the      Current value of the
                                                    ❑ At least one of the debtors and another             entire property?          portion you own?
             Approximate mileage:     147353
                                                    ❑ Check if this is community property (see                         $2,750.00                 $2,750.00
             Other information:                           instructions)

               VIN: 2hgfg12897h523197


       If you own or have more than one, describe here:

       3.2   Make:                    Lamar         Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                    ✔ Debtor 1 only
                                                    ❑                                                      the amount of any secured claims on Schedule D:
                                      U58 trailer
             Model:
                                                    ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.

             Year:                    2016          ❑ Debtor 1 and Debtor 2 only                          Current value of the      Current value of the
                                                    ❑ At least one of the debtors and another             entire property?          portion you own?
             Approximate mileage:     0
                                                    ❑ Check if this is community property (see                         $1,000.00                 $1,000.00
             Other information:                           instructions)

               VIN: 5rvu5182xgp037546


       3.3   Make:                    Ford          Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                    ✔ Debtor 1 only
                                                    ❑                                                      the amount of any secured claims on Schedule D:
                               F250. Bad engine
             Model:
                                                    ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.

             Year:                    1999          ❑ Debtor 1 and Debtor 2 only                          Current value of the      Current value of the
                                                    ❑ At least one of the debtors and another             entire property?          portion you own?
             Approximate mileage:     143200
                                                    ❑ Check if this is community property (see                         $1,500.00                 $1,500.00
             Other information:                           instructions)

               VIN: 1ftpx28l8xka31192


       3.4   Make:                    Kia           Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                    ✔ Debtor 1 only
                                                    ❑                                                      the amount of any secured claims on Schedule D:
                                      Forte
             Model:
                                                    ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.

             Year:                    2021          ❑ Debtor 1 and Debtor 2 only                          Current value of the      Current value of the
                                                    ❑ At least one of the debtors and another             entire property?          portion you own?
             Approximate mileage:     16543
                                                    ❑ Check if this is community property (see                        $22,000.00                $22,000.00
             Other information:                           instructions)

               Surrendering Vehicle
               VIN: 3kpf34ad8me365534


 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes




Official Form 106A/B                                                 Schedule A/B: Property                                                          page 2
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       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Year:                                             ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                 $27,250.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                          $2,100.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                            $500.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Music box
                                                                                                                                                                                     $100.00
                                            Sewing machine

 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Ruger model 96 .22
                                                                                                                                                                                     $500.00
                                            Savage model 110




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 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           See Attached.                                                                                                                                              $702.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           See Attached.                                                                                                                                              $570.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           Cat
                                                                                                                                                                                                                 $0.00
                                                   Cat

 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑ No
       ✔ Yes. Give specific
       ❑                                           Pens, basic office supplies, band aids, household tools, basic medical supplies                                                                            $175.00
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                           $4,647.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                           Cash: ...................                   $20.00




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 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                               Institution name:

                                      17.1. Checking account:          PNC Bank
                                                                       103 Bellevue Parkway
                                                                                                                                                   $737.93
                                                                       Wilmington, DE 19809
                                                                       Acc No: 8319

                                      17.2. Checking account:          Susser Bank -2315                                                           $856.30

                                      17.3. Savings account:           PNC Bank
                                                                       103 Bellevue Parkway
                                                                                                                                                     $0.00
                                                                       Wilmington, DE 19809
                                                                       Acc No: 8327

                                      17.4. Savings account:           PNC Bank
                                                                       103 Bellevue Parkway
                                                                                                                                                     $0.00
                                                                       Wilmington, DE 19809
                                                                       Acc No: 8335


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................    Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
           information about
           them....................   Name of entity:                                                       % of ownership:

                                       DBA Brandi Jones-Focus Medical Billing (no current contract)                      100.00%                     $0.00

                                       Jones Trucking-now closed                                                         100.00%                     $0.00


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




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 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑ No
       ✔ Yes ......................
       ❑                                                    Institution name or individual:

                                      Prepaid rent:         Pavilion Apartments                                                                    $1,495.00


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes. Give specific information about
       ❑
                them, including whether you                                                                  Federal:
                already filed the returns and         2022 | New Mexico state tax refund for 2022            State:                               $1,475.00
                the tax years. ...................
                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                                  Schedule A/B: Property                                                        page 7
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 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:

                                                                      Cigna-Health Insurance
                                                                      Brandon, Brandi, CJ                                                                                                              $0.00

                                                                      Davis Vision
                                                                      Brandi, Brandon, CJ                                                                                                              $0.00

                                                                      Lincoln Financial-Term Life
                                                                      Insurance, no cash value
                                                                      Brandon                                                    Brandi Jones                                                          $0.00

                                                                      SBLI-Term Life Insurance, no cash
                                                                      value
                                                                      Brandi                                                     Brandon                                                               $0.00

                                                                      State Farm
                                                                      Apartments                                                                                                                       $0.00

                                                                      State Farm-Auto Insurance
                                                                      Brandi and Brandon                                                                                                               $0.00

                                                                      State Farm-Short Term Disability
                                                                      Brandon and Brandi                                                                                                               $0.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                 $4,584.23
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


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 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




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                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                    $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                   $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔               $0.00


 56.   Part 2: Total vehicles, line 5                                                                                $27,250.00

 57.   Part 3: Total personal and household items, line 15                                                             $4,647.00

 58.   Part 4: Total financial assets, line 36                                                                         $4,584.23

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $36,481.23            Copy personal property total             ➔    +    $36,481.23



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                 $36,481.23




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 11
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                 Continuation Page

 6.               Household goods and furnishings

                  Bed and bath linen                                                                                          $100.00

                  Bedroom furniture                                                                                           $500.00

                  Couch                                                                                                       $100.00

                  Housewares and household linen                                                                               $50.00

                  Kitchen cook and bake ware                                                                                  $250.00

                  Living room furniture                                                                                       $500.00

                  Old furniture and paper records in storage.                                                                 $300.00

                  Washer dryer freezer                                                                                        $300.00


 7.               Electronics

                  Desktop Computer and Laptop computer                                                                        $100.00

                  Surround sound and PlayStation                                                                              $150.00

                  Three televisions                                                                                           $250.00


 11.              Clothes

                  10 pair pants                                                                                               $200.00

                  23 shirts-blouses                                                                                           $250.00

                  4 pair of pants                                                                                             $100.00

                  5 pair shoes                                                                                                 $50.00

                  7 under garments                                                                                              $1.00

                  8 shirts                                                                                                     $80.00

                  Boots                                                                                                        $20.00

                  Socks and underwear                                                                                           $1.00


 12.              Jewelry

                  Costume jewelry                                                                                              $20.00

                  Ear rings                                                                                                   $100.00

                  Necklace                                                                                                    $150.00

                  Wedding rings                                                                                               $300.00




Official Form 106A/B                                            Schedule A/B: Property                                        page 12
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 Fill in this information to identify your case:

  Debtor 1                    Brandon              Shane             Jones
                              First Name           Middle Name       Last Name

  Debtor 2                    Brandi               L                 Jones
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
 1.

      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from       Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑            $2,750.00                   11 U.S.C. § 522(d)(5)
 2007 Honda Civic                                                       $2,750.00
 VIN: 2hgfg12897h523197                                                              ❑ 100% of fair market value, up
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          3.1

 Brief description:
                                                                                     ✔
                                                                                     ❑            $1,000.00                   11 U.S.C. § 522(d)(5)
 2016 Lamar U58 trailer                                                 $1,000.00
 VIN: 5rvu5182xgp037546                                                              ❑ 100% of fair market value, up
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          3.2
                                                                                     ✔
                                                                                     ❑               $0.00                    11 U.S.C. § 522(d)(6)
                                                                                     ❑ 100% of fair market value, up
                                                                                         to any applicable statutory limit




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                               page 1 of 7
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 Debtor 1            Brandon              Shane                  Jones
 Debtor 2            Brandi               L                      Jones                                          Case number (if known)
                     First Name           Middle Name            Last Name


 Part 2: Additional Page


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                           page 2 of 7
               Case 23-42793-elm7                Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                             Desc Main
                                                           Document Page 23 of 80
 Debtor 1             Brandon           Shane                 Jones
 Debtor 2             Brandi            L                     Jones                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑            $1,500.00                   11 U.S.C. § 522(d)(5)
 1999 Ford F250. Bad engine                                       $1,500.00
 VIN: 1ftpx28l8xka31192                                                        ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        3.3
                                                                               ✔
                                                                               ❑               $0.00                    11 U.S.C. § 522(d)(6)
                                                                               ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit


 Brief description:
                                                                               ✔
                                                                               ❑              $300.00                   11 U.S.C. § 522(d)(3)
 Washer dryer freezer                                               $300.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $500.00                   11 U.S.C. § 522(d)(3)
 Bedroom furniture                                                  $500.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $250.00                   11 U.S.C. § 522(d)(3)
 Kitchen cook and bake ware                                         $250.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $500.00                   11 U.S.C. § 522(d)(3)
 Living room furniture                                              $500.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $100.00                   11 U.S.C. § 522(d)(3)
 Bed and bath linen                                                 $100.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $100.00                   11 U.S.C. § 522(d)(5)
 Couch                                                              $100.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    11 U.S.C. § 522(d)(3)
 Housewares and household linen                                       $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 3 of 7
               Case 23-42793-elm7                Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                             Desc Main
                                                           Document Page 24 of 80
 Debtor 1             Brandon           Shane                 Jones
 Debtor 2             Brandi            L                     Jones                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑              $300.00                   11 U.S.C. § 522(d)(3)
 Old furniture and paper records in storage.                        $300.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $100.00                   11 U.S.C. § 522(d)(3)
 Desktop Computer and Laptop computer                               $100.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑              $250.00                   11 U.S.C. § 522(d)(3)
 Three televisions                                                  $250.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑              $150.00                   11 U.S.C. § 522(d)(3)
 Surround sound and PlayStation                                     $150.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    11 U.S.C. § 522(d)(3)
 Music box                                                            $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         8

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    11 U.S.C. § 522(d)(5)
 Sewing machine                                                       $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         8

 Brief description:
                                                                               ✔
                                                                               ❑              $250.00                   11 U.S.C. § 522(d)(5)
 Ruger model 96 .22                                                 $250.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        10

 Brief description:
                                                                               ✔
                                                                               ❑              $250.00                   11 U.S.C. § 522(d)(5)
 Savage model 110                                                   $250.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        10




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 4 of 7
                Case 23-42793-elm7               Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                             Desc Main
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 Debtor 1             Brandon           Shane                 Jones
 Debtor 2             Brandi            L                     Jones                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑              $80.00                    11 U.S.C. § 522(d)(3)
 8 shirts                                                             $80.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $100.00                   11 U.S.C. § 522(d)(3)
 4 pair of pants                                                    $100.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑               $1.00                    11 U.S.C. § 522(d)(3)
 Socks and underwear                                                   $1.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $20.00                    11 U.S.C. § 522(d)(3)
 Boots                                                                $20.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    11 U.S.C. § 522(d)(3)
 5 pair shoes                                                         $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $250.00                   11 U.S.C. § 522(d)(3)
 23 shirts-blouses                                                  $250.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $200.00                   11 U.S.C. § 522(d)(3)
 10 pair pants                                                      $200.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑               $1.00                    11 U.S.C. § 522(d)(3)
 7 under garments                                                      $1.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 5 of 7
               Case 23-42793-elm7                Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                             Desc Main
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 Debtor 1             Brandon           Shane                 Jones
 Debtor 2             Brandi            L                     Jones                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑              $100.00                   11 U.S.C. § 522(d)(4)
 Ear rings                                                          $100.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑              $300.00                   11 U.S.C. § 522(d)(4)
 Wedding rings                                                      $300.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑              $150.00                   11 U.S.C. § 522(d)(4)
 Necklace                                                           $150.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑              $20.00                    11 U.S.C. § 522(d)(4)
 Costume jewelry                                                      $20.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑               $0.00                    11 U.S.C. § 522(d)(5)
 Cat                                                                   $0.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                               ✔
                                                                               ❑               $0.00                    11 U.S.C. § 522(d)(5)
 Cat                                                                   $0.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                               ✔
                                                                               ❑              $175.00                   11 U.S.C. § 522(d)(5)
 Pens, basic office supplies, band aids, household                  $175.00
 tools, basic medical supplies                                                 ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        14

 Brief description:
                                                                               ✔
                                                                               ❑              $20.00                    11 U.S.C. § 522(d)(5)
 Cash                                                                 $20.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        16




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 6 of 7
               Case 23-42793-elm7                Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                            Desc Main
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 Debtor 1             Brandon           Shane                 Jones
 Debtor 2             Brandi            L                     Jones                                        Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑               $0.00                    11 U.S.C. § 522(d)(5)
 PNC Bank 103 Bellevue Parkway Wilmington, DE                         $0.00
 19809 Acc No: 8327                                                           ❑ 100% of fair market value, up
 Savings account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑              $737.93                   11 U.S.C. § 522(d)(5)
 PNC Bank 103 Bellevue Parkway Wilmington, DE                       $737.93
 19809 Acc No: 8319                                                           ❑ 100% of fair market value, up
 Checking account                                                                to any applicable statutory limit

 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑               $0.00                    11 U.S.C. § 522(d)(5)
 PNC Bank 103 Bellevue Parkway Wilmington, DE                         $0.00
 19809 Acc No: 8335                                                           ❑ 100% of fair market value, up
 Savings account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑              $856.30                   11 U.S.C. § 522(d)(5)
 Susser Bank -2315                                                  $856.30
 Checking account                                                             ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 7 of 7
                  Case 23-42793-elm7                         Doc 1        Filed 09/18/23 Entered 09/18/23 16:27:40                                Desc Main
                                                                         Document Page 28 of 80
 Fill in this information to identify your case:

  Debtor 1                       Brandon                 Shane                Jones
                                 First Name              Middle Name         Last Name

  Debtor 2                       Brandi                  L                    Jones
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Northern District of Texas

  Case number                                                                                                                                 ❑ Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                        Column A            Column B           Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                      Amount of claim     Value of           Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                 Do not deduct the   collateral that    portion
    creditor’s name.                                                                                                 value of            supports this      If any
                                                                                                                     collateral.         claim

 2.1 Santander                                               Describe the property that secures the claim:                $28,618.58           $22,000.00             $6,618.58
      Creditor's Name
                                                              2021 Kia Forte
      PO Box 660633                                           Surrendering Vehicle
      Number            Street
      Dallas, TX 75266                                       As of the date you file, the claim is: Check all that
      City                        State       ZIP Code       apply.
      Who owes the debt? Check one.                          ❑ Contingent
      ✔ Debtor 1 only
      ❑                                                      ❑ Unliquidated
      ❑ Debtor 2 only                                        ❑ Disputed
      ❑ Debtor 1 and Debtor 2 only                           Nature of lien. Check all that apply.
      ❑ At least one of the debtors and                      ❑ An agreement you made (such as mortgage
          another                                                or secured car loan)
      ❑ Check if this claim relates to a                     ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                         lien)
      Date debt was incurred                                 ❑ Judgment lien from a lawsuit
                                                             ❑ Other (including a right to offset)
                                                             Last 4 digits of account number 6          2   2   8

      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $28,618.58




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 2
                Case 23-42793-elm7                  Doc 1          Filed 09/18/23 Entered 09/18/23 16:27:40                               Desc Main
                                                                  Document Page 29 of 80
 Debtor 1                Brandon            Shane                   Jones
 Debtor 2                Brandi             L                       Jones                                         Case number (if known)
                         First Name         Middle Name             Last Name


                                                                                                            Column A             Column B          Column C
                Additional Page
                                                                                                            Amount of claim      Value of          Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                          Do not deduct the    collateral that   portion
                2.3, followed by 2.4, and so forth.                                                         value of             supports this     If any
                                                                                                            collateral.          claim


 2.2                                                Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                    As of the date you file, the claim is: Check all that
                                                    apply.
                                                    ❑ Contingent
       City                    State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                              ❑ Unliquidated
       ❑ Debtor 2 only                              ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                 Nature of lien. Check all that apply.
       ❑ At least one of the debtors and            ❑ An agreement you made (such as mortgage
          another                                         or secured car loan)
       ❑ Check if this claim relates to a           ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                  lien)

       Date debt was incurred
                                                    ❑ Judgment lien from a lawsuit
                                                    ❑ Other (including a right to offset)
                                                    Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                   $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number            $28,618.58
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 2
                  Case 23-42793-elm7                   Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                                 Desc Main
 Fill in this information to identify your case:                 Document Page 30 of 80
  Debtor 1                  Brandon                Shane             Jones
                            First Name             Middle Name       Last Name

  Debtor 2                  Brandi                 L                 Jones
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Attorney General/Child Support Division                                                                              $11,000.00     $11,000.00           $0.00
                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred?
         Attn: Bankruptcy
                                                                   As of the date you file, the claim is: Check all that
         PO Box 12017                                              apply.
        Number          Street                                     ❑ Contingent
         Austin, TX 78711-2017                                     ❑ Unliquidated
        City                             State     ZIP Code
                                                                   ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                            Type of PRIORITY unsecured claim:
                                                                   ✔ Domestic support obligations
                                                                   ❑
        ❑ Debtor 2 only                                            ❑ Taxes and certain other debts you owe the
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                             government
        ❑ At least one of the debtors and another                  ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                 were intoxicated
                                                                   ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 14
                Case 23-42793-elm7               Doc 1       Filed 09/18/23 Entered 09/18/23 16:27:40                                Desc Main
 Debtor 1            Brandon             Shane              Document
                                                              Jones      Page 31 of 80
 Debtor 2            Brandi              L                     Jones                                           Case number (if known)
                     First Name          Middle Name           Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.              Total      Priority        Nonpriority
                                                                                                                      claim      amount          amount

2.2     IRS                                                                                                             $31,976.46      $31,976.46       $0.00
                                                              Last 4 digits of account number
       Priority Creditor's Name
                                                              When was the debt incurred? 2021
        PO Box 1214
       Number          Street                                 As of the date you file, the claim is: Check all that
                                                              apply.
        Charlotte, NC 28201
       City                         State    ZIP Code         ❑ Contingent
       Who incurred the debt? Check one.                      ❑ Unliquidated
       ✔ Debtor 1 only
       ❑                                                      ❑ Disputed
       ❑ Debtor 2 only                                        Type of PRIORITY unsecured claim:
       ❑ Debtor 1 and Debtor 2 only                           ❑ Domestic support obligations
       ❑ At least one of the debtors and another              ✔ Taxes and certain other debts you owe the
                                                              ❑
       ❑ Check if this claim is for a community debt              government
                                                              ❑ Claims for death or personal injury while you
       Is the claim subject to offset?
                                                                  were intoxicated
       ✔ No
       ❑                                                      ❑ Other. Specify
       ❑ Yes
        Remarks: Return Year: 2021 (Federal income tax) -paying IRS $2500 per month




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 14
                Case 23-42793-elm7                  Doc 1       Filed 09/18/23 Entered 09/18/23 16:27:40                                   Desc Main
 Debtor 1            Brandon              Shane                Document
                                                                 Jones      Page 32 of 80
 Debtor 2            Brandi               L                        Jones                                           Case number (if known)
                     First Name            Middle Name             Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     American Express                                                    Last 4 digits of account number 3005                                         $13,686.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?         09/01/2018
        P.o. box 981537                                                     As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                            ❑ Contingent
        El paso, TX 79998
       City                           State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                 divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                         Credit Card
       ❑ Yes
4.2     American Express                                                    Last 4 digits of account number 1006                                           $1,230.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?         08/01/2019
        PO Box 981537                                                       As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                            ❑ Contingent
        El paso, TX 79998
       City                           State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                 divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                         Credit Card
       ❑ Yes




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                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

4.3     Bank of America                                                 Last 4 digits of account number 4633                                     $10,116.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        02/01/2017
        PO Box 982238
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        El Paso, TX 79998
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes
4.4     Bank of America                                                 Last 4 digits of account number 2233                                      $5,935.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        10/01/2021
        PO Box 982238
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        El paso, TX 79998
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

4.5     Citibank cbna                                                   Last 4 digits of account number 6979                                      $2,503.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        10/01/2021
        P.o. box 6217
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux falls, SD 57117
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes
4.6     Citibank CBNA                                                   Last 4 digits of account number 1234                                      $2,630.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        08/01/2019
        PO Box 6217
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux falls, SD 57117
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes




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 Debtor 2            Brandi              L                     Jones                                          Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

4.7     Citibank CBNA                                                   Last 4 digits of account number 1234                                      $7,554.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        09/01/2018
        PO Box 6217
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux falls, SD 57117
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes
4.8     CitiCards CBNA                                                  Last 4 digits of account number 1234                                      $3,954.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?        07/01/2019
        PO Box 6217
                                                                        As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux Falls, SD 57117
                                                                        ❑ Contingent
       City                          State   ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.9     Discover Bank                                                      Last 4 digits of account number 3059                                       $9,279.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/01/2019
        PO BOX 30939
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Salt Lake City, UT 84130
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.10    JP Morgan Chase                                                    Last 4 digits of account number 1538                                     $32,513.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2017
        PO Box 15369
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Wilmington, DE 19850
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes




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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.11    JP Morgan Chase                                                    Last 4 digits of account number 4623                                     $10,961.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/01/2019
        PO Box 15369
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Wilmington, DE 19850
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.12    Motive                                                             Last 4 digits of account number 3838                                        $323.12
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        7th floor
                                                                           As of the date you file, the claim is: Check all that apply.
        159 4th avenue n
       Number          Street
                                                                           ❑ Contingent
        Nashville, TN 37219                                                ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
        Remarks: Eld subscription.




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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.13    PNC Bank                                                           Last 4 digits of account number 8065                                       $6,397.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2019
        PO Box 5580
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Cleveland, OH 44101
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.14    Small Business Administration                                      Last 4 digits of account number 8210                                     $26,098.36
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 3918
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Portland, OR 97208                                                 ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ❑ Other. Specify
       ✔ No
       ❑
       ❑ Yes
        Remarks: Sba business loan




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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.15    TBOM/FORTIVA                                                       Last 4 digits of account number 1234                                       $2,377.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        07/01/2022
        PO Box 105555
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Atlanta, GA 30348
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.16    The Home Depot CBNA                                                Last 4 digits of account number 7914                                       $2,954.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        11/01/2016
        PO Box 6497
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux falls, SD 57117
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes




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                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.17    The Independent Bankers                                            Last 4 digits of account number 0634                                       $9,551.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        05/01/2005
        PO Box 569100
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Dallas, TX 75356
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.18    Upgrade Inc                                                        Last 4 digits of account number 1                                          $4,500.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        10th floor
                                                                           As of the date you file, the claim is: Check all that apply.
        2 North Central Avenue
       Number          Street
                                                                           ❑ Contingent
        Phoenix, AZ 85004                                                  ❑ Unliquidated
       City                          State    ZIP Code                     ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ❑ Other. Specify
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
        Remarks: Personal loan




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  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.19    US Bank                                                            Last 4 digits of account number 0436                                       $3,186.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/01/2020
        PO Box 108
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Saint louis, MO 63166
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.20    Wells Fargo Card Services                                          Last 4 digits of account number 7819                                       $6,014.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/01/2021
        PO Box 14517
                                                                           As of the date you file, the claim is: Check all that apply.
       Number          Street
        Des Moines, IA 50306
                                                                           ❑ Contingent
       City                          State    ZIP Code                     ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes




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                    First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Arias                                                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.12 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Avenue A
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Lubbock, TX 79382
       City                                State     ZIP Code      Last 4 digits of account number 1155

                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                               of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line
       Number          Street                                                                  ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                   Last 4 digits of account number

       City                                State     ZIP Code




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 13 of 14
                Case 23-42793-elm7                 Doc 1       Filed 09/18/23 Entered 09/18/23 16:27:40                        Desc Main
 Debtor 1          Brandon                Shane               Document
                                                                Jones      Page 43 of 80
 Debtor 2          Brandi                 L                      Jones                                    Case number (if known)
                   First Name             Middle Name            Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                          Total claim


                   6a. Domestic support obligations                             6a.                      $11,000.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                6b.                      $31,976.46
                       government

                   6c. Claims for death or personal injury while you            6c.                           $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.          6d.   +                       $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                          6e.                       $42,976.46




                                                                                          Total claim


                   6f. Student loans                                            6f.                           $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                  6g.                           $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and            6h.                           $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured               6i.   +                 $161,761.48
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                          6j.                     $161,761.48




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 14 of 14
                     Case 23-42793-elm7                      Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                                 Desc Main
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 Fill in this information to identify your case:

     Debtor 1                       Brandon              Shane             Jones
                                    First Name           Middle Name       Last Name

     Debtor 2                       Brandi               L                 Jones
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Northern District of Texas

     Case number                                                                                                                              ❑ Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                   State what the contract or lease is for

2.1                                                                                                  Storage unit
        Billy the Kid Storage                                                                        Contract to be ASSUMED
        Name
        1325 E Country Club Rd
        Number    Street
        Roswell, NM 88201
        City                                     State   ZIP Code

2.2                                                                                                  Apartment lease
        Pavilion Apartments                                                                          Contract to be ASSUMED
        Name
        3500 Willowood Cir
        Number     Street
        Arlington, TX 76015
        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
                  Case 23-42793-elm7                          Doc 1     Filed 09/18/23 Entered 09/18/23 16:27:40                           Desc Main
                                                                       Document Page 45 of 80
 Fill in this information to identify your case:

  Debtor 1                       Brandon                Shane              Jones
                                 First Name            Middle Name         Last Name

  Debtor 2                       Brandi                 L                  Jones
  (Spouse, if filing)            First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                             Northern District of Texas

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ❑ No
          ✔ Yes. In which community state or territory did you live? Texas
          ❑                                                                                                  . Fill in the name and current address of that person.
                 Jones, Brandi L
                Name of your spouse, former spouse, or legal equivalent
                 1800 Blue Danube Street
                Number           Street
                 Apt 1099
                Street 2
                 Arlington, TX 76015
                City                                  State     ZIP Code
             ✔ Yes. In which community state or territory did you live? Texas
             ❑                                                                                               . Fill in the name and current address of that person.
                 Jones, Brandon Shane
                Name of your spouse, former spouse, or legal equivalent
                 1800 Blue Danube Street
                Number           Street
                 Apt 1099
                Street 2
                 Arlington, TX 76015
                City                                  State     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt
                                                                                                            Check all schedules that apply:
3.1                                                                                                         ❑ Schedule D, line
      Name
                                                                                                            ❑ Schedule E/F, line
      Number            Street                                                                              ❑ Schedule G, line
      City                                    State   ZIP Code


Official Form 106H                                                            Schedule H: Your Codebtors                                                     Page 1 of 1
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                                                                 Document Page 46 of 80
 Fill in this information to identify your case:

  Debtor 1                  Brandon                Shane             Jones
                           First Name              Middle Name       Last Name

  Debtor 2                  Brandi                 L                 Jones
  (Spouse, if filing)      First Name              Middle Name       Last Name                                               Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Texas                                  ❑ An amended filing
                                                                                                                             ❑ A supplement showing postpetition
  Case number                                                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                   ✔ Employed ❑ Not Employed
                                                                                                                              ❑
     attach a separate page with
     information about additional            Occupation                   Truck driver                                        Package Handler Trainer
     employers.
                                             Employer's name              Hornet Transport                                    FedEx
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           4700 Martin Street                                  2251 E Bardin Rd
     Occupation may include student                                        Number Street                                       Number Street
     or homemaker, if it applies.




                                                                          Fort Worth, TX 76119                                Arlington, TX 76018
                                                                           City                     State     Zip Code         City                  State   Zip Code
                                             How long employed there? 9 months                                                 1 year 3 months


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1     For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $7,387.50                 $2,509.63

 3. Estimate and list monthly overtime pay.                                                3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $7,387.50                 $2,509.63




Official Form 106I                                                         Schedule I: Your Income                                                                page 1
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 Debtor 1                 Brandon                      Shane                           Jones
 Debtor 2                 Brandi                       L                               Jones                                         Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.            $7,387.50                $2,509.63
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.             $941.14                 $357.99
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                 $503.21
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.              $941.14                 $861.19
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.            $6,446.36                $1,648.44
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.                $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $6,446.36    +           $1,648.44         =          $8,094.80

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $8,094.80

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Debtor 1            Brandon            Shane                 Jones
 Debtor 2            Brandi             L                     Jones                             Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                               Business Income-DBA Brandi Jones (medical billing, one year contract)

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                                $0.00

   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                     $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                    $0.00

                                                                                                                                 $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                             $0.00




Official Form 106I                                                    Schedule I: Your Income                                    page 3
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 Fill in this information to identify your case:

  Debtor 1                  Brandon                 Shane                Jones
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2                  Brandi                  L                    Jones
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                          Northern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               9 years                  ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               16 years                 ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $1,495.00


     If not included in line 4:
                                                                                                                              4a.                           $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $23.75
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                           $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1             Brandon               Shane                 Jones
 Debtor 2             Brandi                L                     Jones                                      Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $197.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $86.97
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $355.26

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $800.00

 8.    Childcare and children’s education costs                                                                    8.                    $390.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $125.00

 10. Personal care products and services                                                                           10.                   $100.00

 11.   Medical and dental expenses                                                                                 11.                   $525.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $300.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                   $125.00

 14. Charitable contributions and religious donations                                                              14.                   $800.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                  $112.77
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                  $185.13

       15c. Vehicle insurance                                                                                      15c.                  $139.89

       15d. Other insurance. Specify:               See Additional Page                                            15d.                      $11.97

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                   $485.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00


Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
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 Debtor 1            Brandon             Shane                 Jones
 Debtor 2            Brandi              L                     Jones                                        Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                   See Additional Page                                                        21.     +           $2,720.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $8,977.74

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $8,977.74


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $8,094.80

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $8,977.74

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                ($882.95)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Debtor 1            Brandon              Shane                 Jones
 Debtor 2            Brandi               L                     Jones                                   Case number (if known)
                     First Name           Middle Name           Last Name




                                                                                                                                         Amount


   6b. Water, sewer, garbage collection
       Water                                                                                                                               $63.97
       Trash                                                                                                                               $23.00

   6c. Telephone, cell phone, Internet, satellite, and cable services
       Internet                                                                                                                            $55.00
       Mobile Phone                                                                                                                       $225.26
       Television                                                                                                                          $75.00

   8. Childcare and children's education costs
       Child School: Homeschool program tuitions and community fees, book fees, and school supply resources                               $270.00
       Childcare                                                                                                                          $120.00

   15a. Life Insurance
       Term life: Brandon                                                                                                                  $95.00
       Term life: Brandi                                                                                                                   $17.77

   15b. Health Insurance
       Disability Short-term: Brandi and Brandon                                                                                           $89.82
       Health: Family                                                                                                                      $95.31

   15d. Other Insurance
       Dental: Family                                                                                                                       $8.42
       Vision: Family                                                                                                                       $3.55

   21. Other
       IRS                                                                                                                               $2,500.00
       Storage sheds                                                                                                                      $220.00




Official Form 106J                                                      Schedule J: Your Expenses                                             page 4
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                                                                               Document Page 53 of 80
 Fill in this information to identify your case:

  Debtor 1                      Brandon                     Shane                    Jones
                               First Name                  Middle Name              Last Name

  Debtor 2                      Brandi                      L                        Jones
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                     Northern District of Texas

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                               $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                              $36,481.23

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                        $36,481.23



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                 $28,618.58

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                      $42,976.46


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $161,761.48


                                                                                                                                                  Your total liabilities                    $233,356.52

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $8,094.80


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $8,977.74




Official Form 106Sum                                            Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Brandon               Shane                  Jones
Debtor 2            Brandi                L                      Jones                                             Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Brandon                Shane             Jones
                            First Name             Middle Name       Last Name

  Debtor 2                  Brandi                 L                 Jones
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                         Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Brandon Shane Jones                                            ✘ /s/ Brandi L Jones
        Brandon Shane Jones, Debtor 1                                        Brandi L Jones, Debtor 2


        Date 09/18/2023                                                      Date 09/18/2023
                 MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 23-42793-elm7                   Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                             Desc Main
                                                                 Document Page 56 of 80
 Fill in this information to identify your case:

  Debtor 1                  Brandon                Shane             Jones
                           First Name              Middle Name       Last Name

  Debtor 2                  Brandi                 L                 Jones
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                       ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                    ✔ Same as Debtor 1
                                                                                    ❑                                                    ✔ Same as Debtor 1
                                                                                                                                         ❑
     3001 South Eisenhower Road                            From 10/20/2016                                                               From
    Number       Street
                                                           To     06/19/2020          Number     Street                                  To

     Roswell, NM
    City                             State ZIP Code
                                                                                      City                         State ZIP Code


                                                                                    ✔ Same as Debtor 1
                                                                                    ❑                                                    ✔ Same as Debtor 1
                                                                                                                                         ❑
     1800 East Gayle Street                                From 03/23/2011                                                               From
    Number       Street
                                                           To     10/20/2016          Number     Street                                  To

     Roswell, NM
    City                             State ZIP Code
                                                                                      City                         State ZIP Code


                                                                                    ✔ Same as Debtor 1
                                                                                    ❑                                                    ✔ Same as Debtor 1
                                                                                                                                         ❑
     3803 North Garden Avenue                              From 10/19/2021                                                               From
    Number       Street
                                                           To     10/24/2022          Number     Street                                  To

     Roswell, NM
    City                             State ZIP Code
                                                                                      City                         State ZIP Code


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1            Brandon           Shane                     Jones
Debtor 2            Brandi            L                         Jones                                        Case number (if known)
                    First Name        Middle Name               Last Name


                                                                                ✔ Same as Debtor 1
                                                                                ❑                                                      ✔ Same as Debtor 1
                                                                                                                                       ❑
    823 East Berrendo Road                               From 06/19/2020                                                               From
    Number    Street
                                                         To     10/19/2021        Number      Street                                   To

    Roswell, NM
    City                          State ZIP Code
                                                                                  City                         State ZIP Code



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Debtor 1                                             Debtor 2

                                                   Sources of income         Gross Income               Sources of income           Gross Income
                                                   Check all that apply.     (before deductions and     Check all that apply.       (before deductions and
                                                                             exclusions)                                            exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                             $56,925.00
    date you filed for bankruptcy:                   bonuses, tips                                         bonuses, tips
                                               ❑ Operating a business                                  ✔ Operating a business
                                                                                                       ❑                                      $20,276.20


    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2022       )          bonuses, tips                                         bonuses, tips
                                   YYYY        ✔ Operating a business
                                               ❑                                         $92,874.00    ✔ Operating a business
                                                                                                       ❑                                      $30,538.00


    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2021       )          bonuses, tips                                         bonuses, tips
                                   YYYY        ✔ Operating a business
                                               ❑                                     $230,224.39       ✔ Operating a business
                                                                                                       ❑                                      $50,263.00



  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Debtor 1                                             Debtor 2




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1            Brandon                 Shane                Jones
Debtor 2            Brandi                  L                    Jones                                          Case number (if known)
                    First Name              Middle Name          Last Name

                                                     Sources of income          Gross income from           Sources of income          Gross Income from
                                                     Describe below.            each source                 Describe below.            each source
                                                                                (before deductions and                                 (before deductions and
                                                                                exclusions)                                            exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2022            )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2021            )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                            Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                            payment

             Santander Consumer USA                         07/01/2023                    $1,310.08                              ❑ Mortgage
             Creditor's Name
                                                                                                                                 ✔ Car
                                                                                                                                 ❑
             PO Box 961275                                  06/01/2023
             Number      Street                                                                                                  ❑ Credit card
             Fort Worth, TX 76161                                                                                                ❑ Loan repayment
             City                   State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                 ❑ Other




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3
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Debtor 1             Brandon               Shane                  Jones
Debtor 2             Brandi                L                      Jones                                          Case number (if known)
                     First Name            Middle Name            Last Name



  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                          Dates of            Total amount paid   Amount you still          Reason for this payment
                                                          payment                                 owe



    Insider's Name


    Number     Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid   Amount you still          Reason for this payment
                                                          payment                                 owe                       Include creditor’s name



    Insider's Name


    Number     Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Brandon                Shane                    Jones
Debtor 2            Brandi                 L                        Jones                                          Case number (if known)
                    First Name             Middle Name              Last Name

                                                       Nature of the case                     Court or agency                               Status of the case

    Case title                                                                                                                           ❑ Pending
                                                                                             Court Name                                  ❑ On appeal
                                                                                                                                         ❑ Concluded
                                                                                             Number       Street
    Case number

                                                                                             City                    State    ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                     Describe the property                               Date                Value of the property



    Creditor’s Name


    Number       Street                                              Explain what happened

                                                                    ❑ Property was repossessed.
                                                                    ❑ Property was foreclosed.
                                                                    ❑ Property was garnished.
    City                           State    ZIP Code
                                                                    ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                     Date action was      Amount
                                                                                                                       taken
    Creditor’s Name


    Number       Street



    City                          State    ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1             Brandon                Shane                 Jones
Debtor 2             Brandi                 L                     Jones                                          Case number (if known)
                     First Name             Middle Name           Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600           Describe the gifts                                         Dates you gave       Value
     per person                                                                                                      the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities            Describe what you contributed                               Date you              Value
     that total more than $600                                                                                  contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                            Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Brandon             Shane                  Jones
Debtor 2            Brandi              L                      Jones                                         Case number (if known)
                    First Name          Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred           Date payment or       Amount of payment
    Norred law                                                                                              transfer was made
    Person Who Was Paid
                                                                                                            05/08/2023                     $2,000.00
    515 East Border Street
    Number     Street




    Arlington, TX 76010
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                                Description and value of any property transferred           Date payment or       Amount of payment
    Norred Law, PLLC                                                                                        transfer was made
    Person Who Was Paid                       Attorney’s Fee
                                                                                                            05/08/2023                     $2,500.00
    515 E. Border
    Number     Street




    Arlington, TX 76010
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of any property transferred           Date payment or       Amount of payment
                                                                                                            transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




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Debtor 1            Brandon             Shane                 Jones
Debtor 2            Brandi              L                     Jones                                           Case number (if known)
                    First Name          Middle Name            Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of property        Describe any property or payments              Date transfer was
                                                transferred                              received or debts paid in exchange             made
    Rush Peterbilt                            2019 Peterbilt 389                        Paid bills. Paid off loan balance of 2019
    Person Who Received Transfer              Sale Amount: $162,000.00                  Peterbilt                                       03/16/2022
    4200 Irving Boulevard
    Number     Street


    Dallas, TX 75247
    City                   State   ZIP Code


    Person's relationship to you


                                              House                                     There were no proceeds. Had to pay
    McDaniel Realty                           Sale Amount: $222,000.00                  difference in mortgage. Upsidedown              09/29/2022
    Person Who Received Transfer

    3803 North Garden Avenue
    Number     Street


    Roswell, NM 88201
    City                   State   ZIP Code


    Person's relationship to you


                                              Hyundai 53 foot dry van                   Down payment for home
    Butler Trucking                           Sale Amount: $8,000.00                                                                    10/08/2021
    Person Who Received Transfer

    Avenue A
    Number     Street


    Lubbock, TX 79382
    City                   State   ZIP Code


    Person's relationship to you


                                              2015 transcraft 53 foot flatbed           Paid bills
    Harold Whitaker                           Sale Amount: $25,000.00                                                                   06/01/2022
    Person Who Received Transfer

    42 West Darby Road
    Number     Street


    Dexter, NM 88230
    City                   State   ZIP Code


    Person's relationship to you




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
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Debtor 1            Brandon             Shane                  Jones
Debtor 2            Brandi              L                      Jones                                         Case number (if known)
                    First Name          Middle Name            Last Name

                                                Description and value of property        Describe any property or payments             Date transfer was
                                                transferred                              received or debts paid in exchange            made
                                              2019 ram 1500.00                          Paid bills
    Roswell Ford                              Sale Amount: $29,000.00                                                                  07/15/2022
    Person Who Received Transfer

    821 North Main Street
    Number     Street


    Roswell, NM 88201
    City                   State   ZIP Code


    Person's relationship to you


                                              Toyota Camry                              Nothing. No proceeds. Had to pay loan
    Krumland Toyota                           Sale Amount: $30,000.00                   difference. Upsidedown                         05/25/2022
    Person Who Received Transfer

    2211 West 2nd Street
    Number     Street


    Roswell, NM 88201
    City                   State   ZIP Code


    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of the property transferred                                      Date transfer was
                                                                                                                                       made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Brandon               Shane                 Jones
Debtor 2            Brandi                L                     Jones                                              Case number (if known)
                    First Name            Middle Name           Last Name

                                                  Last 4 digits of account number          Type of account or       Date account was            Last balance
                                                                                           instrument               closed, sold, moved, or     before closing or
                                                                                                                    transferred                 transfer

    Name of Financial Institution
                                                  XXXX–                                ❑ Checking
                                                                                       ❑ Savings
                                                                                       ❑ Money market
    Number      Street


                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    City                    State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Who else had access to it?                    Describe the contents                           Do you still have
                                                                                                                                                 it?

                                                                                                                                                ❑ No
    Name of Financial Institution                 Name
                                                                                                                                                ❑ Yes

    Number      Street                            Number    Street



                                                  City                State     ZIP Code

    City                    State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Who else has or had access to it?             Describe the contents                           Do you still have
                                                                                                                                                 it?
                                                                                                 Livingroom furniture and other household
    Billy the Kid Storage                                                                        items that do not fit in debtor's apartment.   ❑ No
    Name of Storage Facility                      Name                                           Old business paperwork.                        ✔ Yes
                                                                                                                                                ❑
    1325 E. Country Club Rd.
    Number      Street                            Number    Street



                                                  City                  State    ZIP Code
    Roswell, NM 88201
    City                     State    ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
               Case 23-42793-elm7                      Doc 1    Filed 09/18/23 Entered 09/18/23 16:27:40                                      Desc Main
                                                               Document Page 66 of 80
Debtor 1            Brandon             Shane                   Jones
Debtor 2            Brandi              L                       Jones                                                Case number (if known)
                    First Name          Middle Name             Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Where is the property?                             Describe the property                       Value


    Owner's Name
                                                 Number     Street


    Number     Street

                                                 City                       State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                             Environmental law, if you know it                Date of notice


    Name of site                                Governmental unit



    Number     Street                           Number     Street


                                                City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 11
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Debtor 1            Brandon               Shane                     Jones
Debtor 2            Brandi                L                         Jones                                            Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                   Date of notice


    Name of site                                  Governmental unit



    Number        Street                          Number       Street


                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                  Status of the case


    Case title
                                                  Court Name
                                                                                                                                                ❑ Pending
                                                                                                                                                ❑ On appeal
                                                                                                                                                ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Jones Trucking                                                                                           Do not include Social Security number or ITIN.
    Name
                                                   Trucking transportation
                                                                                                              EIN:          –
    PO Box 65
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                   Self
                                                                                                              From October, 2010 To August, 2022
    Roswell, NM 88202
    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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Debtor 1            Brandon             Shane                    Jones
Debtor 2            Brandi              L                        Jones                                       Case number (if known)
                    First Name          Middle Name              Last Name

                                                 Describe the nature of the business                 Employer Identification number
     Jones Trucking                                                                                  Do not include Social Security number or ITIN.
    Name
                                                Trucking transportation
                                                                                                      EIN:             –
     PO Box 65
    Number     Street

                                                 Name of accountant or bookkeeper                    Dates business existed
                                                Self
                                                                                                      From October, 2010 To August, 2022
     Roswell, NM 88202
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 13
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 Debtor 1           Brandon             Shane                 Jones
 Debtor 2           Brandi              L                     Jones                                         Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Brandon Shane Jones                                      ✘ /s/ Brandi L Jones
        Signature of Brandon Shane Jones, Debtor 1                     Signature of Brandi L Jones, Debtor 2


        Date 09/18/2023                                                Date 09/18/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 14
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 Fill in this information to identify your case:

  Debtor 1                  Brandon                Shane             Jones
                           First Name              Middle Name       Last Name

  Debtor 2                  Brandi                 L                 Jones
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral            What do you intend to do with the property that secures Did you claim the property as
                                                                          a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ✔ Surrender the property.
                                                                          ❑                                                        ✔ No
                                                                                                                                   ❑
    name:               Santander
                                                                          ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2021 Kia Forte
                        Surrendering Vehicle
                                                                          ❑ Retain the property and enter into a
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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 Debtor 1            Brandon                 Shane                  Jones
 Debtor 2            Brandi                  L                      Jones                                        Case number (if known)
                     First Name              Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                             Will the lease be assumed?
    Lessor’s name:                Billy the Kid Storage                                                                           ❑ No
                                                                                                                                  ✔ Yes
                                                                                                                                  ❑
    Description of leased
    property:                     Storage unit

    Lessor’s name:                Pavilion Apartments                                                                             ❑ No
                                                                                                                                  ✔ Yes
                                                                                                                                  ❑
    Description of leased
    property:                     Apartment lease

    Lessor’s name:                                                                                                                ❑ No
                                                                                                                                  ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                ❑ No
                                                                                                                                  ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                ❑ No
                                                                                                                                  ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                ❑ No
                                                                                                                                  ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                ❑ No
                                                                                                                                  ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Brandon Shane Jones                                        ✘ /s/ Brandi L Jones
      Signature of Debtor 1                                            Signature of Debtor 2


      Date 09/18/2023                                                  Date 09/18/2023
            MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        Jones, Brandon Shane

             Jones, Brandi L                                                                                               Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $2,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $2,500.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
        Case 23-42793-elm7              Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                            Desc Main
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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        09/18/2023                                             /s/ Clayton L. Everett
                Date                                         Clayton L. Everett
                                                             Signature of Attorney
                                                                                              Bar Number: 24065212
                                                                                                   Norred Law, PLLC
                                                                                                   Norred Law, PLLC
                                                                                                       515 E. Border
                                                                                                 Arlington, TX 76010
                                                                                              Phone: (817) 704-3984

                                                                               Norred Law, PLLC
                                                            Name of law firm




                                                                 Page 2 of 2
                  Case 23-42793-elm7                      Doc 1      Filed 09/18/23 Entered 09/18/23 16:27:40                        Desc Main
 Fill in this information to identify your case:                    Document Page 74 of 80
  Debtor 1                     Brandon                Shane             Jones
                               First Name             Middle Name       Last Name

  Debtor 2                     Brandi                 L                 Jones
  (Spouse, if filing)          First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                           Northern District of Texas


                                                                                                                  ❑ Check if this is an amended filing
  Case number
  (if known)



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                           12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
           ❑
                        this supplement with the signed Form 122A-1.
           ❑ Yes. Go to Part 2.

 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                      Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                         check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days          sign Part 3. Then submit this supplement with the signed
                                                                                                         Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                       , which is fewer
                                                                                                         Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                         exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                   are performing a homeland defense activity, and for 540
                                                                                                         days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this            If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                            page 1
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                                                                                             Check one box only as directed in this form and in
 Fill in this information to identify your case:                 Document Page 75 of 80      Form 122A-1Supp:
  Debtor 1                  Brandon                Shane               Jones
                                                                                                             ✔ 1. There is no presumption of abuse.
                                                                                                             ❑
                           First Name              Middle Name         Last Name

  Debtor 2                  Brandi                 L                   Jones
                                                                                                             ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                of abuse applies will be made under Chapter 7
                           First Name              Middle Name         Last Name
                                                                                                                Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Northern District of Texas                  ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                             ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from rental or other real property                                        here
                                                                                                  →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
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Debtor 1                   Brandon                        Shane                          Jones
Debtor 2                   Brandi                         L                            Document
                                                                                         Jones      Page 76 of 80    Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
             Case 23-42793-elm7                    Doc 1       Filed 09/18/23 Entered 09/18/23 16:27:40 Desc Main
Debtor 1           Brandon               Shane                  Jones
Debtor 2           Brandi                L                    Document
                                                                Jones      Page 77 of 80    Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Brandon Shane Jones                                                            ✘ /s/ Brandi L Jones
       Signature of Debtor 1                                                                Signature of Debtor 2

       Date 09/18/2023                                                                      Date 09/18/2023
              MM/ DD/ YYYY                                                                        MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
       Case 23-42793-elm7                Doc 1       Filed 09/18/23 Entered 09/18/23 16:27:40                               Desc Main
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                          FORT WORTH DIVISION

IN RE: Jones, Brandon Shane                                                           CASE NO
       Jones, Brandi L
                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      09/18/2023            Signature                              /s/ Brandon Shane Jones
                                                                      Brandon Shane Jones, Debtor


Date      09/18/2023            Signature                                 /s/ Brandi L Jones
                                                                       Brandi L Jones, Joint Debtor
          Case 23-42793-elm7     Doc 1    Filed 09/18/23 Entered 09/18/23 16:27:40      Desc Main
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American Express                    American Express                     Arias
P.o. box 981537                     PO Box 981537                        Avenue A
El paso, TX 79998                   El paso, TX 79998                    Lubbock, TX 79382




Attorney General                    Attorney General/Child               Bank of America
Main Justice Bldg, Room 5111        Support Division                     PO Box 982238
10th & Constitution Ave., N.W.      Attn: Bankruptcy                     El Paso, TX 79998
Washington, DC 20530                PO Box 12017
                                    Austin, TX 78711-2017


Bank of America                     Billy the Kid Storage                Brackett & Ellis
PO Box 982238                       1325 E Country Club Rd               100 Main St.
El paso, TX 79998                   Roswell, NM 88201                    Fort Worth, TX 76102




Wendy Burgess-Tax Assessor          Citibank cbna                        Citibank CBNA
100 E. Weatherford Street           P.o. box 6217                        PO Box 6217
Fort Worth, TX 76196                Sioux falls, SD 57117                Sioux falls, SD 57117




CitiCards CBNA                      Discover Bank                        IRS
PO Box 6217                         PO BOX 30939                         PO Box 1214
Sioux Falls, SD 57117               Salt Lake City, UT 84130             Charlotte, NC 28201




IRS                                 JP Morgan Chase                      JP Morgan Chase
Special Procedures-Insolvency       PO Box 15369                         PO Box 15369
PO Box 7346                         Wilmington, DE 19850                 Wilmington, DE 19850
Philadelphia, PA 19101



LGBS                                LGBS-Dallas                          Motive
100 Throckmorton St # 300           2777 N Stemmons Fwy Suite 1000       7th floor
Fort Worth, TX 76102                Dallas, TX 75207                     159 4th avenue n
                                                                         Nashville, TN 37219



Pavilion Apartments                 Perdue Brandon Fielder               PNC Bank
3500 Willowood Cir                  Collins and Mott LLP                 PO Box 5580
Arlington, TX 76015                 500 E. Border #640                   Cleveland, OH 44101
                                    Arlington, TX 76010



Santander                           Small Business                       State Comptroller
PO Box 660633                       Administration                       Revenue Accounting Division
Dallas, TX 75266                    PO Box 3918                          PO Box 13528
                                    Portland, OR 97208                   Austin, TX 78711



Tax Division-US Department          TBOM/FORTIVA                         Texas Alcoholic Bev. Comm.
of Justice                          PO Box 105555                        Licenses and Permits Division
717 N. Harwood, Ste. 400            Atlanta, GA 30348                    PO Box 13127
Dallas, TX 75201                                                         Austin, TX 78711
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Texas Attorney General            Texas Workforce Comm.                The Home Depot CBNA
BK-Collections Division           TEC Building-Bankruptcy              PO Box 6497
PO Box 12548                      101 E. 15th Street                   Sioux falls, SD 57117
Austin, TX 78711                  Austin, TX 78778



The Independent Bankers           U.S. Attorney-North                  U.S. Trustee
PO Box 569100                     3rd. Floor, 1100 Commerce St.        1100 Commerce St., Rm 976
Dallas, TX 75356                  Dallas, TX 75242                     Dallas, TX 75242




Upgrade Inc                       US Bank                              Wells Fargo Card Services
10th floor                        PO Box 108                           PO Box 14517
2 North Central Avenue            Saint louis, MO 63166                Des Moines, IA 50306
Phoenix, AZ 85004
